                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:11-00194
                                                  )      JUDGE CAMPBELL
JAMES BEAN                                        )

                                          ORDER

       Pending before the Court is a Motion for Leave to File Under Seal (Docket No. 517). The

Motion is GRANTED. The sentencing hearing set for July 30, 2012 is CANCELLED and will be

reset by further Order.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:11-cr-00194       Document 520      Filed 07/09/12     Page 1 of 1 PageID #: 1353
